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 1   Richard J. Mooney (pro hac vice)
 2   richard.mooney@rimonlaw.com
     RIMON P.C.
 3   One Embarcadero Center #400
     San Francisco, CA 94111
 4   Telephone: (415) 539-0443
 5   Attorneys for Plaintiff Triumphant Gold Limited
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                              FOR THE SOUTHERN DISTRICT OF TEXAS
 9
                                          HOUSTON DIVISION
10
11
12    Triumphant Gold Limited,                         CASE NO.: 4:18-cv-4770

13                          Plaintiff,
                                                       CERTIFICATE OF SERVICE
14            v.

15    Darren Matloff,
16                          Defendant.

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                                         PROOF OF SERVICE
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3           I, RICHARD J. MOONEY, am over the age of 18 and not a party to this action. My
     place of business is One Embarcadero Center, Suite 400, San Francisco, CA 94111. On
4    January 11, 2019, I served the following documents:

5               1. SUMMONS IN A CIVIL ACTION (ISSUED);

6               2. COMPLAINT FOR RECOGNITION OF A JUDGMENT PURSUANT TO
                   THE UNIFORM FOREIGN-COUNTRY MONEY JUDGMENT
7                  RECOGNITION ACT;

8               3. MOTION AND ORDER FOR ADMISSION PRO HAC VICE - GRANTED

9               4. CIVIL COVER SHEET;

10              5. JUDGE VANESSA D. GILMORE’S PROCEDURES; and

11              6. JOINT DISCOVERY / CASE MANAGEMENT PLAN UNDER RULE 26(f)
                   FEDERAL RULES OF CIVIL PROCEDURE.
12
     on the person(s) listed below in the following manner/s:
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14
                BY UNITED STATES REGISTERED MAIL-RETURN RECEIPT
15              REQUESTED. I caused the documents to be enclosed in a sealed envelope
                addressed to the person at the address below and caused the envelope to be
16              placed for collection and mailing following our ordinary business practices.
              X Iprocessing
                  am readily familiar with this business' practice for collecting and
                            documents for mailing. On the same day that correspondence is
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                placed for collection and mailing, it is deposited in the ordinary course of
18              business with the United States Postal Service in a sealed envelope with
                postage fully prepaid, registered and return receipt requested.
19

20
              BY PERSONAL SERVICE. I caused the documents to be personally
                   delivered to the person(s) at the address(es) listed below.
21             ELECTRONICALLY: I caused a true and correct copy thereof to be
               electronically filed using the Court’s Electronic Court Filing (“ECF”) System
22            and service was completed by electronic means by transmittal of a Notice of
               Electronic Filing on the registered participants of the ECF System.
23
               BY UNITED STATES MAIL. I enclosed the documents in a sealed envelope
24             or package addressed to the persons at the addresses below and placed the
               envelope for collection and mailing following our ordinary business practices. I
25            am readily familiar with this business' practice for collecting and processing
               documents for mailing. On the same day that correspondence is placed for
26             collection and mailing, it is deposited in the ordinary course of business with
               the United States Postal Service in a sealed envelope with postage fully prepaid.
27

28

                                                       1.
                                           CERTIFICATE OF SERVICE
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1    The following parties were served the above-referenced documents:

2    Darren Matloff, Defendant
3    75 Vine Street, Unit 805
     Seattle, WA 98121
4

5
            I declare under penalty of perjury under the laws of the United States and the State of
6
     California that the foregoing is true and correct.
7
     DATED: January 11, 2019
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                                                          ____________________________________
                                                             /s/ Richard J. Mooney
10                                                        Richard J. Mooney

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                                                          2.
                                            CERTIFICATE OF SERVICE
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